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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

IN RE: IN THE MATTER OF THE                                CIVIL ACTION
COMPLAINT OF TK BOAT RENTALS,
LLC, AS OWNER AND OPERATOR OF                              NO. 2:17-cv-01545
THE M/V MISS IDA PETITIONING FOR                           c/w 17-02446 and c/w 17-03657
EXONERATION FROM OR LIMITATION
OF LIABILITY                                               SECTION “R” MAG. DIV. (4)

                                                           JUDGE VANCE
Pertains to All Actions
                                                           MAGISTRATE ROBY


      REPLY MEMORANDUM OF DEFENDANT, EXTREME FISHING, L.L.C., IN
             SUPPORT OF MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

                                           Introduction

       The Motion for Summary Judgment (Rec. Doc. 107) filed by Defendant, Extreme

Fishing, L.L.C. (“Extreme Fishing”), in advance of the original August 6, 2018 trial date,

sought to dismiss the only two remaining claims against it for vicarious liability filed by

Claimants/Plaintiffs and TK Boat Rentals, LLC (“TK Boats”), and for negligent

entrustment brought by TK Boats.           In response to the Motion for Summary Judgment

(Rec. Doc. 107), Claimants/Plaintiffs 1 filed a statement of no opposition (Rec. Doc. 110)

wherein they state that “[a]fter conducting extensive discovery, including numerous

depositions, and upon review of the evidence and testimony, Claimants/Plaintiffs … do

not oppose the Motion for Summary Judgment filed on behalf of [Extreme Fishing].” As

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          The remaining Claimants/Plaintiffs are Patrick A. Beck, individually and as the father and
administrator of the estate of his minor son, C.D.B., Justin McCarthy, and Michael Harrell, who filed a
Complaint for Damages in consolidated action No. 17-02446.
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suggested by Claimants/Plaintiffs, discovery on liability issues was completed in

anticipation of the Pre-Trial Conference originally set for June 28, 2018.

       Limitation Plaintiffs, Chase St. Clair and Andre Boudreau and GEICO Marine

Insurance Company (“GEICO”), who have not pled a single cause of action against

Extreme Fishing in these consolidated proceedings, filed a Memorandum in Opposition

(Rec. Doc. 112) wherein they argue alternative legal theories, again never pled since

inception of litigation in February 2017 until now, and suggest that their opposition

should be treated as a Cross-Motion for Summary Judgment in their favor. 2 Finally,

Limitation Plaintiff, TK Boats, in the main action No. 17-01545, filed a Memorandum in

Opposition (Rec. Doc. 113). In the interests of judicial economy, Extreme Fishing will

reply to both opposition memoranda (Rec. Docs. 112 and 113) in this single pleading.

       As explained herein, Extreme Fishing’s Motion for Summary Judgment (Rec.

Doc. 107) should respectfully be granted because Claimants/Plaintiffs did not oppose it

and TK Boats (Rec. Doc. 113), and St. Clair, Boudreau, and GEICO (Rec. Doc. 112)

have failed to produce any contrary evidence showing that summary judgment is not

properly granted in Extreme Fishing’s favor on the two remaining claims against it. In

the event the Court entertains Limitation Plaintiffs’ alternative, unpled legal defenses,

Extreme Fishing submits the following response.




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         It is unclear how Mr. St. Clair, Mr. Boudreau, and GEICO even have standing to oppose
Extreme Fishing’s Motion for Summary Judgment that seeks to dismiss the remaining claims of
Claimants/Plaintiffs and TK Boat Rentals against Extreme Fishing, when St. Clair, Boudreau, and GEICO
have asserted no causes of action against Extreme Fishing in these consolidated actions.

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I.     Reply to the Memorandum in Opposition of Limitation Plaintiffs, Chase St.
       Clair and Andre Boudreau, and GEICO Marine Insurance Company
                               (Rec. Doc. 112)

A.    Mr. St. Clair, as the owner of the M/V SUPER STRIKE, bears the “heavy
      burden” of proving that the M/V SUPER STRIKE was operating under a
      demise or bareboat charter at the time of the collision.

      Under general maritime law, it is well settled that a vessel owner, here Chase St.

Clair as the owner of the M/V SUPER STRIKE, bears the heavy burden of proving the

facts that give rise to the existence of a valid bareboat or demise charter party for his

vessel at the time of the collision. See Deal v. A.P. Bell Fish Co., 674 F.2d 438, 440–41

(5th Cir. 1982) (stating that “[i]n Guzman [v. Pichirilo, 369 U.S. 698, 700 (1982)], the

Court placed the burden of proving a bareboat charter solidly on the owner of the

vessel.”). According to the U.S. Supreme Court, “[t]he burden [of proving the existence

of a demise or bareboat charter] is heavy, for courts are reluctant to find a demise when

the dealings between the parties are consistent with any lesser relationship.” Guzman,

369 U.S. at 700.

      The U.S. Fifth Circuit has recognized that a demise or bareboat charter party “is

not a documentary choice for the conduct of the business of shipping; it is rather an

instrument for vesting in one person most of the incidents of ownership in a capital

asset of that business—the ship—while another retains the general ownership and the

right of reversion.” In re Admiral Towing and Barge Co., 767 F.2d 243, 248 (5th Cir.

1985) (quotation marks and citation omitted). In other words, a demise or bareboat

charter party is “tantamount to, though, just short of, an outright transfer of ownership.”

Guzman v. Pichirilo, 369 U.S. 698, 700, 82 S.Ct. 1095, 1096, 8 L.Ed.2d 205 (1962).


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Importantly, “anything short of such a complete transfer is a time or voyage charter

party or not a charter party at all.” Guzman, 369 U.S. at 700, 82 S.Ct. at 1096. Finally,

for a demise or bareboat charter party to exist, “the owner of the vessel must completely

and exclusively relinquish possession, command, and navigation thereof to the

demisee.” Guzman, 369 U.S. at 699, 82 S.Ct. at 1096. In this respect, “[t]he test is one

of ‘control.’” Gilmore and Black, The Law of Admiralty §4–21 (2d ed. 1975).

       Mr. St. Clair cannot meet his “heavy burden” of establishing the existence of a

bareboat or demise charter party between himself and Extreme Fishing because St.

Clair never completely relinquished possession, command or control of the M/V SUPER

STRIKE. First, there were absolutely no conversations, texts or written agreements

between Mr. St. Clair and Mr. Wetzel—who is the sole member of Extreme Fishing,

L.L.C.—regarding the use of the M/V SUPER STRIKE prior to the incident in question

much less any discussions regarding payment or term of use of the vessel. See Wetzel

Depo. at p. 44 ln. 11-13 (Rec. Doc. 107-2); St. Clair Depo. at p. 48 ln. 11-23 (Rec. Doc.

107-5). While Boudreau did communicate with St. Clair prior to the incident about use

of the vessel, St. Clair testified Boudreau never used the M/V SUPER STRIKE without

telling St. Clair first considering St. Clair stored the vessel in a shed under lock and key.

See St. Clair Depo. at p. 80 (attached as Exhibit D).

       Further, and as explained more fully in Section I(B) below, Mr. St. Clair’s actions

prior to and post-collision have been entirely inconsistent with the existence of a

bareboat or demise charter party between St. Clair and Extreme Fishing for the use of

the M/V SUPER STRIKE.          For example, when Andre Boudreau fueled up the M/V


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SUPER STRIKE for the trip in question, Mr. St. Clair paid for the fuel through the use of

his father’s credit account.   See St. Clair Depo. at p. 53 ln. 14-20, p. 54 ln. 7-12

(attached as Exhibit D). Then, shortly after the commencement of the charter fishing

trip in question, when the M/V SUPER STRIKE experienced an engine issue, Andre

Boudreau called Mr. St. Clair to report the problem to him, not Mr. Wetzel.             See

Boudreau Depo. at p. 111 ln. 20-25, p. 112 ln. 1-16 (attached as Exhibit C). Third,

following the collision, Mr. St. Clair went to the scene to salvage the M/V SUPER

STRIKE, not Troy Wetzel.       See St. Clair Depo. at p. 84 ln. 10-25, p. 85 ln. 1-11

(attached as Exhibit D). Fourth, Andre Boudreau testified that prior to the collision at

issue he had operated the M/V SUPER STRIKE approximately nine times while running

charter fishing trips for a company called Intensity Outfitters that was owned by Josh

Bodenheimer. See Boudreau Depo. at p. 45 ln. 24-25, p. 46 ln. 1-25, p. 47 ln. 1-25, p.

48 ln. 1-25, p. 49 ln. 1-25, p. 50 ln. 1-25, p. 51 ln. 1-25, p. 52 ln. 1, p. 268 ln. 8-25, p.

269 ln. 1-25, p. 270 ln. 1-24 & Exhibit 28 attached thereto (Rec. Doc. 107-4). In this

respect, because Andre Boudreau had used the M/V SUPER STRIKE multiple times

unrelated to his work for Extreme Fishing and prior to the collision, Mr. St. Clair had

previously sent in Mr. Boudreau’s qualifications to GEICO and had him added to the

GEICO policy covering the M/V SUPER STRIKE. See St. Clair Depo. at p. 38 ln. 20-25,

p. 39 ln. 1-25, p. 40 ln. 1-25, p. 41 ln. 1-13 (attached as Exhibit D).         Further, on

February 15, 2018, Chase St. Clair, Andre Boudreau, and GEICO Marine Insurance

Company filed a Cross-Claim against AGCS Marine Insurance Company, who is the

insurer of Mr. Wetzel’s vessels, for defense costs, indemnity and/or contribution for any


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amounts that Mr. Boudreau may be found liable to pay to any party as a result of the

collision in question, and claiming that Andre Boudreau is an insured under the AGCS

policy.     See Chase St. Clair, Andre D. Boudreau and GEICO Marine Insurance

Company’s Cross-Claim Against AGCS Marine Insurance Company (Rec. Doc. 79 at p.

6 ¶¶31-32). The Cross-Claim, however, makes no claims against Extreme Fishing or

Mr. Wetzel as a demise or bareboat charterer.

          Given the foregoing, and under the particular circumstances of this case, it is

respectfully submitted that Mr. St. Clair maintained the requisite possession, command,

and control of the M/V SUPER STRIKE at the time of the collision and St. Clair,

Boudreau and GEICO cannot carry their burden necessary for arguing that Extreme

Fishing was the demise or bareboat charterer of the M/V SUPER STRIKE. Accordingly,

their incorporated cross-motion for summary judgment on this issue should respectfully

be denied.

B.        By including Andre Boudreau as a party plaintiff in the Limitation Action,
          Chase St. Clair and Andre Boudreau have, admitted that if the M/V SUPER
          STRIKE was operating under a demise or bareboat charter party at the time
          of the collision, then Andre Boudreau was the vessel’s demise or bareboat
          charterer, and they should be estopped from now arguing otherwise.

          The positions taken by Limitation Plaintiffs, Chase St. Clair and Andre Boudreau,

that “Extreme Fishing Bareboat Chartered M/V SUPER STRIKE and is therefore Liable

for the Negligence of its Crew,” see Opp. Mem. at p. 9 (Rec. Doc. 112) (capitalized

words in original), and that “Extreme Fishing is attempting to foist its liability as bareboat

charterer onto Boudreau,” see Opp. Mem. at p. 9 (Rec. Doc. 112) are legally

inconsistent with every pleading they have filed in these consolidated actions, and, in


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particular, are wholly inconsistent with the Limitation Action (Rec. Doc. 1 in

Consolidated Action No. 17-03657) filed by Chase St. Clair and Andre Boudreau.

       First, the Limitation of Vessel Owner’s Liability Act (the “Act”) states that “the

liability of the owner of a vessel for any claim, debt, or liability … shall not exceed the

value of the vessel and pending freight.”        46 U.S.C. §30505(a) (emphasis added).

Under the Act, “the term ‘owner’ includes a charterer that mans, supplies, and navigates

a vessel at the charterer’s own expense or by the charterer’s own procurement.” 46

U.S.C. §30501.     This statutory wording has long been interpreted as referring to a

demise or bareboat charterer of a vessel. See The ATLAS NO. 7, 42 F.2d 480, 481

(S.D.N.Y. 1930). Thus, it is well settled that the parties entitled to file a Limitation Action

under the Act are the owner of a vessel and the bareboat or demise charterer of a

vessel. See Thomas J. Schoenbaum, 2 Admiralty & Mar. Law §15–2 (5th ed. 2017)

(“The term owner is defined to include the charterer who actually mans, supplies, and

navigates the vessel, which is interpreted to mean demise and bareboat charterers, but

not a time or voyage charterer. The term ‘owner’ does not include the employer of the

ship’s crew or a management company responsible for the operation of the vessel.”)

(quotation marks and footnotes omitted). Moreover, by statute, the master of a vessel is

not entitled to limited liability under the Act. See 46 U.S.C. §30512; Zapata Haynie

Corp. v. Arthur, 926 F.2d 484, 485 (5th Cir. 1991).

       Here, Chase St. Clair and Andre Boudreau jointly filed a verified Limitation Action

(Rec. Doc. 1 in consolidated action No. 17-03657) seeking exoneration from or

limitation of liability arising out of the collision between the M/V SUPER STRIKE and the


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M/V IDA. Their Limitation Action alleges that Chase St. Clair was the owner of the M/V

SUPER STRIKE and that Andre Boudreau was the operator of the M/V SUPER

STRIKE. See Complaint for Exoneration From or Limitation of Liability at p. 1 ¶¶1–2

(Rec. Doc. 1 in Consolidated Action No. 17-03657).

       It is undisputed that Chase St. Clair was the owner of the M/V SUPER STRIKE

and thus has a statutory right to seek limited liability under the Act if he can satisfy the

requirements for lack of privity or knowledge. See 46 U.S.C. §§30501, 30505, 30511.

Andre Boudreau, however, was not the owner of the M/V SUPER STRIKE, and, as

stated above, the master of a vessel has no right to limit his liability. See 46 U.S.C.

§30512. Therefore, the only way Andre Boudreau would have a right to seek limited

liability under the Act would be if he was the demise or bareboat charterer of the M/V

SUPER STRIKE.        The fact that Mr. Boudreau is labeled the “operator” of the M/V

SUPER STRIKE is of no moment. Cf. In re Otal Investments Ltd., No. 03-4304, 2013

WL 6645438, at *3, 2014 A.M.C. 258, 262 (S.D.N.Y. Dec. 17, 2013) (refusing to

reconsider prior decision that “[m]anagers may not limit their liability under the Limitation

of Liability Act because they are not owners or bareboat charterers.”). Consequently,

the inclusion of Andre Boudreau as a party plaintiff in the Limitation Action (Rec. Doc. 1

in Consolidated Action No. 17-03657) is tantamount to an admission on the part of both

Chase St. Clair and Andre Boudreau that, to the extent that the M/V SUPER STRIKE

was operating under a demise or bareboat charter at the time of the collision, the

demise or bareboat charterer of the M/V SUPER STRIKE was Andre Boudreau. In

other words, the position now attempted to be asserted by St. Clair, Boudreau, and


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GEICO that Extreme Fishing or Mr. Wetzel was the demise or bareboat charterer of the

M/V SUPER STRIKE is unsupported considering the inclusion of Mr. Boudreau as a

party plaintiff in their verified Limitation Action (Rec. Doc. 1 in Consolidated Action No.

17-03657). As such, Mr. St. Clair, Mr. Boudreau, and GEICO should be estopped from

now arguing a contrary position. A verified complaint is an equivalent to an affidavit and

can be considered summary judgment evidence. See King v. Dogan, 31 F.3d 344, 346

(5th Cir. 1994). In an attempt to avoid any alleged negligence attributable to Boudreau,

St. Clair, Boudreau and GEICO belatedly argue legal theories contradictory to

previously filed sworn pleadings.       The inconsistency is self-evident particularly

considering Extreme Fishing has not ever pled bareboat charterer status or Limitation of

Liability as a defense.

       Further to the point, there are no allegations contained in the St. Clair/Boudreau

Limitation Action whatsoever that Extreme Fishing was the bareboat or demise

charterer of the M/V SUPER STRIKE, or that Extreme Fishing exercised exclusive

possession, command, navigation, and control over the M/V SUPER STRIKE, or that

Andre Boudreau was otherwise operating the M/V SUPER STRIKE on Extreme

Fishing’s behalf, or that Andre Boudreau was employed by Extreme Fishing. According

to the U.S. Fifth Circuit, “[a] claim which is not raised in the complaint but, rather, is

raised only in response to a motion for summary judgment is not properly before the

court.” Cutera v. Board of Supervisors of Louisiana State University, 429 F.3d 108, 113

(5th Cir. 2005). Accordingly, the Court should respectfully reject this attempt by Mr. St.

Clair, Mr. Boudreau, and GEICO to allege, for the first time in response to a summary-


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judgment motion that is not even directed towards them, a claim not alleged or

otherwise discussed in their verified Limitation Action or other pleadings in this action.

       Similarly, the prior filings of St. Clair, Boudreau, and GEICO in these

consolidated actions are also wholly devoid of any allegations that either Extreme

Fishing or Troy Wetzel was the demise or bareboat charterer of the M/V SUPER

STRIKE at the time of the collision. Nor have St. Clair, Boudreau, and GEICO asserted

any cross-claims against Extreme Fishing seeking contribution or indemnity. In fact,

even their responses to the allegations of the Claimants/Plaintiffs are entirely

inconsistent with their newly-found position that Mr. Boudreau was somehow working

for Mr. Wetzel or Extreme Fishing at the time of the collision, or that the M/V SUPER

STRIKE was bareboat or demise chartered to Extreme Fishing or Mr. Wetzel at the time

of the collision. For example, the below table shows, side-by-side, the response of

Chase St. Clair and Andre Boudreau to the following allegations contained in the

original Complaint for Damages filed by Claimants/Plaintiffs (Rec. Doc. 1 in

Consolidated Action No. 17-02446), wherein St. Clair, Boudreau, and GEICO

specifically deny that Mr. Wetzel or someone on his behalf entered into an agreement to

use one of Mr. St. Clair’s vessels, and further deny that Andre Boudreau was acting in

the course and scope of his employment with Extreme Fishing or Mr. Wetzel when

operating Mr. St. Clair’s boat:




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             Claimants/Plaintiffs’                    Answer to Complaint for Damages and Cross-
  Complaint for Damages (Rec. Doc. No. 1 in            Claim on Behalf of Defendants, Chase B. St.
     Consolidated Action No. 17-02446)                 Clair, Andre D. Boudreau and GEICO Marine
                                                     Insurance Company (Rec. Doc. No. 9 in No. 17-
                                                                          01545)
                    *    *    *
                                                                        *    *    *

                        14.                                                 14.

On the morning of February 12, 2017, Plaintiffs      Defendants deny the truth of the allegations
were supposed to be taken to fish offshore in the    contained in Paragraph 14 of the Complaint for
Gulf of Mexico on a fishing vessel owned and         Damages.
operated by Mr. Wetzel, d/b/a Louisiana Offshore
Charters, and/or by Extreme Fishing. However,
this fishing vessel was inoperable. Accordingly,
upon information and belief, Mr. Wetzel or
someone on his behalf entered into an
agreement with Defendant, Chase B. St. Clair,
or his representative to use one of Mr. St.
Clair’s fishing vessels to take Plaintiffs to fish
offshore that day, and Mr. St. Clair was to be
paid for the use of his fishing vessel for this
purpose.

                        15.                                                 15.

Due to the aforesaid events, in the morning hours    Defendants deny the truth of the allegations
on February 12, 2017, Plaintiffs were passengers     contained in Paragraph 15 of the Complaint for
on a 32-foot catamaran offshore fishing vessel       Damages.
owned by Mr. St. Clair and being operated by
Defendant, Andre D. Boudreau, in the course
and scope of his employment with Mr. Wetzel,
d/b/a Louisiana Offshore Fishing Charters,
and/or Extreme Fishing.



       Additionally, if the M/V SUPER STRIKE was demise or bareboat chartered to

Extreme Fishing or Mr. Wetzel as St. Clair, Boudreau, and GEICO now attempt to

argue, which is denied, then one would have expected Mr. St. Clair to have raised an

affirmative defense to the claims of Plaintiffs/Claimants that he, as the owner of the M/V

SUPER STRIKE, is not liable in personam as a matter of law for the negligence of the

M/V SUPER STRIKE’s demise or bareboat charterer.                      This affirmative defense,

however, is nowhere to be found in the Answer of St. Clair, Boudreau, and GEICO to
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the Complaint for Damages filed by Plaintiffs/Claimant.                     Moreover, although their

Answer included a Cross-Claim, the Cross-Claim did not name Extreme Fishing or Mr.

Wetzel as a cross-claim defendant, or otherwise include any allegations against

Extreme Fishing or Mr. Wetzel.

        Similarly, St. Clair, Boudreau, and GEICO in their response to the Cross-Claim of

TK Boat Rentals, LLC deny that Mr. Wetzel or Extreme Fishing was the employer of

Andre Boudreau at the time of the collision, and further deny that Mr. Wetzel or Extreme

Fishing is even responsible for the collision and resulting damages:

           TK Boat Rentals, LLC’s                        Chase St. Clair, Andre Boudreau, and GEICO
Answer to Claim, Complaint, Cross-Claim and                     Marine Insurance Company’s
14(c) Tender (Rec. Doc. No. 18 in No. 17-01545)         Answer to Cross-Claim and 14(c) Tender (Rec.
                                                                 Doc. No. 21 in No 17-01545)
                     *    *    *
                                                                             *    *    *
       Cross-Claim and Rule 14(c) Tender

                     *    *    *

                         10.                                                     10.

The M/V SUPER STRIKE was owned by defendant             Chase St. Clair admits that he is and was the
Chase St. Clair. Mr. St. Clair entrusted the vessel     owner of the M/V SUPER STRIKE. The truth of the
to Troy Wetzel, for profit, for the purpose of taking   remaining allegations is denied.
the passengers into the Gulf of Mexico to fish.

                         11.                                                     11.

The use of the M/V SUPER STRIKE was                     Cross-Claim Defendants admit the truth of the
necessitated because the vessel that was to be          allegations contained in Paragraph 11 of the Cross-
used by Captain Andre Boudreau, and which               Claim and Rule 14(c) Tender.
vessel was owned by Troy Wetzel and/or Extreme
Fishing, LLC, was inoperable.

                         12.                                                     12.

Troy Wetzel and/or Extreme Fishing, LLC was             Cross-Claim Defendants deny the truth of the
the employer of Andre Boudreau on February              allegations contained in Paragraph 12 of the Cross-
12, 2017.                                               Claim and Rule 14(c) Tender.

                     *    *    *                                             *    *    *



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                       21.                                                   21.

Troy Wetzel d/b/a Louisiana Offshore Fishing          Cross-Claim Defendants deny the truth of the
Charters and/or Extreme Fishing, LLC, as the          allegations contained in Paragraph 21 of the Cross-
employer of Andre Boudreau, are responsible           Claim and Rule 14(c) Tender.
for the collision and resulting damages.


                       22.                                                   22.

Troy Wetzel d/b/a Louisiana Offshore Fishing          Cross-Claim Defendants deny the truth of the
Charters and/or Extreme Fishing, LLC are further      allegations contained in Paragraph 22 of the Cross-
responsible for the collision and resulting damages   Claim and Rule 14(c) Tender.
because Troy Wetzel d/b/a Louisiana Offshore
Fishing Charters and/or Extreme Fishing, LLC
negligently entrusted the M/V SUPER STRIKE and
the passengers to Andre Boudreau, without
determining whether Andre Boudreau was
competent for the work requested of him or
whether he was competent to run the M/V SUPER
STRIKE in the fog.




Again, these responses are entirely inconsistent with the current argument of Mr. St.

Clair, Mr. Boudreau, and GEICO that the M/V SUPER STRIKE was bareboat or demise

chartered to Extreme Fishing or Mr. Wetzel at the time of the collision, or that Mr.

Boudreau was employed by Extreme Fishing or Mr. Wetzel.

        Under all of the above circumstances, this Court is entirely justified in discrediting

the attempt of Mr. St. Clair, Mr. Boudreau, and GEICO to now argue that the M/V

SUPER STRIKE was bareboat or demise chartered to Mr. Wetzel or Extreme Fishing at

the time of the collision, or that Mr. Boudreau was employed by Extreme Fishing or Mr.

Wetzel. Cf. John W. Griffin, The American Law of Collision §249 (1949) (“[I]n general it

is a ground for suspicion at least if the log omits mention of the principal fault claimed

against the other vessel.”) (citing to The RICHMOND, 114 F. 208, 212 (4th Cir. 1902).




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       For all of the above reasons Mr. St. Clair, Mr. Boudreau, and GEICO have not

shown that they are entitled to the granting of a cross-motion for summary judgment in

their favor, and their incorporated cross-motion for summary judgment should

respectfully be denied.

      II.   Reply to the Memorandum in Opposition of TK Boat Rentals, LLC
                                (Rec. Doc. 113)

A.     TK Boats has articulated no valid basis why this Court should reconsider
       its prior ruling denying TK Boats’ Motion for Partial Summary Judgment on
       the Employment Status of Andre Boudreau.

       In response to the Motion for Summary Judgment filed by Extreme Fishing (Rec.

Doc. No. 107), TK Boat Rentals, LLC (“TK Boats”) first attempts to rehash its prior

Motion for Partial Summary Judgment Regarding Independent Contractor Defense

(Rec. Doc. No. 71), which this Court has already denied, see Order and Reasons at p.

11 (Rec. Doc. No. 87).    Specifically, TK Boats incorporates its prior arguments by

reference, and does not attempt to introduce any new evidence or otherwise articulate

any reasons why this Court’s prior decision should be reexamined. See Opposition to

Extreme Fishing LLC’s Motion for Summary Judgment at p. 1 (“Rather than re-plead its

argument, law, and facts, TK incorporates them by reference.”) (Rec. Doc. No. 113). As

Extreme Fishing has already responded to those arguments in its prior opposition

memorandum, see Memorandum of Defendants, Troy Wetzel and Extreme Fishing,

L.L.C., in Opposition to Motion for Partial Summary Judgment Regarding Independent

Contractor Defense (Rec. Doc. No. 76), and given that TK Boats has failed to introduce

any new evidence and is merely incorporating its prior arguments by reference, then

Extreme Fishing will likewise rely on its previous opposition memorandum and

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incorporate those arguments herein by reference. Consequently, TK Boats’ attempt to

relitigate its previously denied motion for partial summary judgment should respectfully

be denied.

B.     TK Boats has produced no evidence showing that Extreme Fishing or Troy
       Wetzel qualified as the demise or bareboat charterer of the M/V SUPER
       STRIKE at the time of the collision.

       Next, TK Boats argues that “Troy Wetzel, not Andre Boudreau, chartered the M/V

SUPER STRIKE.” Opposition to Extreme Fishing LLC’s Motion for Summary Judgment

at p. 2 (Rec. Doc. No. 113). TK Boats, however, fails to discuss the type of charter

party allegedly entered into, and, in any event, to the extent that TK Boats is arguing

that Extreme Fishing or Troy Wetzel 3 was the demise or bareboat charterer of the M/V

SUPER STRIKE, TK Boats fails to produce any evidence that the owner of the M/V

SUPER STRIKE, Chase St. Clair, “completely and exclusively relinquish[ed]

possession, command, and navigation [of the M/V SUPER STRIKE] thereof to [Mr.

Wetzel or Extreme Fishing].” Guzman, 369 U.S. at 699, 82 S.Ct. at 1096. Nor has TK

Boats produced any evidence showing that Extreme Fishing exercised the requisite

“control” over the M/V SUPER STRIKE necessary for either to have been the demise or

bareboat charterer of the M/V SUPER STRIKE on the day of the collision.                         See

Discussion in Section I(A) at pp. 3–4 above.




       3
          Of course, all claims and cross-claims against Troy Wetzel have already been dismissed with
prejudice in these consolidated actions. See Order and Reasons at p. 12 (Rec. Doc. No. 87).

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C.     TK Boats’ argument regarding the rest requirements of 46 U.S.C. §8104, is
       a red herring because the statute and its accompanying regulations are not
       applicable to a vessel such as the M/V SUPER STRIKE.

       Lastly, TK Boats argues Extreme Fishing is liable for negligent entrustment

because “Troy Wetzel had a duty to ensure his charter captain, Captain Boudreau, had

adequate rest.” Opposition to Extreme Fishing LLC’s Motion for Summary Judgment at

p. 5 (Rec. Doc. No. 113).

       In this respect, Andre Boudreau, as the captain aboard the M/V SUPER STRIKE

and the primary person that the statute, if applicable, would be designed to protect from

overwork, specifically testified during his deposition that he was not tired or fatigued on

the day of the collision. See Boudreau Deposition at p. 288 ln. 10-16 (attached as

Exhibit C).

       While relied upon by TK Boat Rentals, there is no private right of action available

under 46 U.S.C. §8104 for its violation, and a person who violates the statute is subject

to a fine payable to the U.S. Government. See 46 U.S.C. §8104(i) (“A person violating

subsection (a) or (b) of this section is liable to the United States Government for a civil

penalty of $10,000.”); see also Feemster v. BJ-Titan Services Co./Titan Services, Inc.,

873 F.2d 91, 93 (5th Cir. 1989) (stating that “[t]he general purpose of this legislation is to

promote maritime safety, but not with employees acting as private enforcers and as

private attorneys general; the agent of enforcement is the Coast Guard.”). The Coast

Guard investigated this matter and no action has been levied against Boudreau or

Extreme.




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        Further, TK Boats has not shown that the statutory provision upon which it relies,

46 U.S.C. §8104(a), 4 is even applicable to a vessel such as the M/V SUPER STRIKE,

which is a small uninspected passenger vessel that carries no more than six

passengers on fishing trips. For example, one of the implementing regulations states

that “Title 46 U.S.C. 8104 applies to the establishment of watches aboard certain U.S.

vessels. The establishment of adequate watches is the responsibility of the vessel’s

master.” 46 C.F.R. §15.705(a). Another regulation states that “[t]he master must post

watch schedules where they are easily accessible. They must cover each affected

person under paragraph (a) of this section, and must take into account the rest

requirements of this section as well as port rotations and changes in the vessel’s

itinerary.” 46 C.F.R. §15.1111(f). The establishment of a “watch schedule,” however, is

clearly not applicable on an uninspected passenger fishing vessel such as the M/V

SUPER STRIKE that leaves Venice in the morning and return the same afternoon.

        Similarly, owners and operators and personnel serving on an uninspected

passenger vessel as defined in 46 U.S.C. §2101(42)(B) and that are “engaged

exclusively on domestic, near-coastal voyages are in compliance with subpart K of this

part and are, therefore, not subject to further requirements for the purposes of the

STCW [The Seafarers’ Training, Certification and Watchkeeping Code] Convention.” 46

C.F.R. §15.105(g)(3); see also 46 C.F.R. §15.1101(a)(2)(iii) (“The following small

vessels engaged exclusively on domestic voyages are not subject to any obligation for


        4
          It is believed that TK Boats mistakenly referred to 46 U.S.C. §8104(a) as 46 C.F.R. §8104(a) in
its opposition memorandum. See Opposition to Extreme Fishing LLC’s Motion for Summary Judgment at
p. 6 (Rec. Doc. No. 113).

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the purposes of the STCW Convention:           … (iii) Uninspected passenger vessels as

defined in 46 U.S.C. 2101(42)(B).”). Given the foregoing, because the implementing

regulation for “Work hours and rest periods” is found in Subpart K of Part 15, see 46

C.F.R. §15.1111, an uninspected passenger vessel as defined in 46 U.S.C.

§2101(42)(B), such as the M/V SUPER STRIKE, is exempt from the requirements of 46

U.S.C. §8104.

       Nevertheless, and without waiving the foregoing, because Extreme Fishing was

not the owner of the M/V SUPER STRIKE, TK Boats’ argument relies on the unproven

assertion that Extreme Fishing or Troy Wetzel was the demise or bareboat charterer of

the M/V SUPER STRIKE and the employer of Andre Boudreau at the time of the

collision. Again, absent proof that Extreme Fishing or Troy Wetzel met the stringent

requirements necessary to be the demise or bareboat charterer of the M/V SUPER

STRIKE, and that Extreme Fishing or Mr. Wetzel was Mr. Boudreau’s employer, neither

Extreme Fishing nor Troy Wetzel could possibly be liable for negligent entrustment

under the rest statute cited by TK Boats.

       Based on the foregoing reasons, the opposition arguments of TK Boats should

respectfully be rejected.

                                      Conclusion

       For these reasons and for those reasons set forth in its original Memorandum in

Support, Extreme Fishing respectfully requests that this Court grant its Motion for

Summary Judgment, and that all of the remaining claims of Claimants/Plaintiffs and TK

Boat Rentals, LLC against it be dismissed, with prejudice, each party to bear its own


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costs.

                                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         I do hereby certify that a copy of the above and foregoing has been served upon

all counsel of record by electronic notice in accordance with Local Rules to those

counsel receiving electronic notice, and all others by depositing same in the United

States Mail, postage prepaid and properly addressed, this 5th day of June, 2018.


                                         /s/ Kirk N. Aurandt
                                         KIRK N. AURANDT




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